         Case 1:23-mj-00136-GMH Document 1-1 Filed 06/21/23 Page 1 of 9




                                   STATEMENT OF FACTS

        Your affiant, Wesley Garland, is a Special Agent assigned to the Federal Bureau of
Investigation’s (FBI) Boston Division/Bedford, New Hampshire (NH) office. In my duties as a
Special Agent, I work on the Joint Terrorism Task Force (“JTTF”), with a focus on domestic
terrorism cases. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
         Case 1:23-mj-00136-GMH Document 1-1 Filed 06/21/23 Page 2 of 9




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                           CINDY YOUNG’s Participation on January 6, 2021

       This investigation began based on information that CINDY YOUNG was present inside
the Capitol on January 6, 2021. Your affiant reviewed open-source media, CCTV, and spoke with
CINDY YOUNG, all which confirmed her presence inside the Capitol on January 6, 2021.

        On January 5, 2021, six buses, organized by group “Super Happy Fun America”, left
Massachusetts to bring President Trump supporters to his rally and other scheduled protests. Image
1 shows CINDY YOUNG, at the pick-up location, wearing a bright red jacket with Aztec print
while holding a Trump “NO MORE BULLSHIT” flag.

                                           Image 1
        Case 1:23-mj-00136-GMH Document 1-1 Filed 06/21/23 Page 3 of 9




         CINDY YOUNG was interviewed by NTD News before she boarded one of the buses to
Washington, D.C. During the interview she stated the country was “at a crossroad.” Image 2 is a
still from the interview.

                                        Image 2




        After attending President Trump’s ‘Stop the Steal’ rally, CINDY YOUNG joined a large
group in walking to the Capitol. Once on Capitol grounds, CINDY YOUNG (yellow box) scaled
a staircase on the Northwest lawn, as the riot began to grow outside the building (Image 3).




                                           Image 3
        Case 1:23-mj-00136-GMH Document 1-1 Filed 06/21/23 Page 4 of 9




        YOUNG can be seen, throughout the day, wearing the same jacket as her January 5th
interview as well as sunglasses, a Trump 2020 scarf, and an American Flag ‘Trump 2020’ knit hat.

                                              Image 4
        Case 1:23-mj-00136-GMH Document 1-1 Filed 06/21/23 Page 5 of 9




        At approximately 2:22PM, CINDY YOUNG entered the Capitol through the Senate Wing
doors. Image 5 is a zoomed in still image from CCTV as YOUNG, circled, enters the Capitol.

                                        Image 5




        After entering, CINDY YOUNG traveled through varying areas of the Capitol. At some
point, CINDY YOUNG came into possession of a Trump 2020 and an American flag, as seen in
Image 6 and 7.
 Case 1:23-mj-00136-GMH Document 1-1 Filed 06/21/23 Page 6 of 9




                                Image 6




CCTV captured CINDY YOUNG filming/photographing the Rotunda (Image 7).




                                 Image 7
        Case 1:23-mj-00136-GMH Document 1-1 Filed 06/21/23 Page 7 of 9




       CINDY YOUNG is also captured standing in a crowd, outside the Chamber doors, which
loudly chanted “break it down” (Image 8).




                                          Image 8


        Your affiant telephonically interviewed CINDY YOUNG on January 13, 2021, regarding
a male who was arrested on January 6, 2021. YOUNG admitted to traveling to D.C., on the bus,
with this male. YOUNG recounted she paid $75.00, roundtrip, for the bus ride to Washington,
D.C., in order attend the Trump Rally. YOUNG likened the scene, on Capitol grounds, to a war
zone. YOUNG admitted entering the Capitol and stated her goal was to get to the hearing room
so that her voice might be heard.

        YOUNG was again interviewed on February 11, 2022. Young admitted to going onto the
Capitol grounds where “things got crazy.” YOUNG again admitted to going inside the Capitol
Building and herself in Image 8 saying “That is me standing near the hearing doors!”. YOUNG
also identified herself in Image 1 and 2. YOUNG, invited Agents to photograph her scarf (Image
9) and jacket (Image10) that she acknowledged wearing on January 6, 2021.
Case 1:23-mj-00136-GMH Document 1-1 Filed 06/21/23 Page 8 of 9




                          Image 9




                           Image 10
         Case 1:23-mj-00136-GMH Document 1-1 Filed 06/21/23 Page 9 of 9




        Based on the foregoing, your affiant submits that there is probable cause to believe that
CINDY YOUNG violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that CINDY YOUNG violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                     _________________________________
                                                     Wesley Garland
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of June 2023.                                 Digitally signed by
                                                        G. Michael G. Michael Harvey
                                                        Harvey      Date: 2023.06.21
                                                                    13:07:25 -04'00'
                                                     ___________________________________
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
